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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 NATIONAL ASSOCIATION FOR THE
 ADVANCEMENT OF COLORED
 PEOPLE (NAACP), et al.,

                    Plaintiffs,

          v.                                         No. 17-cv-1907 (JDB)

 DONALD TRUMP, et al.,

                    Defendants.


 THE TRUSTEES OF PRINCETON
 UNIVERSITY, et al.,

                    Plaintiffs,
                                                     No. 17-cv-2325 (JDB)
          v.

 UNITED STATES OF AMERICA, et al.,

                    Defendants.


                                  NOTICE OF CLARIFICATION

       Defendants respectfully submit the following clarification regarding a colloquy with the

Court during the March 14, 2018 motions hearing in this matter. See March 14, 2018 Tr. at 74:7-

25 to 75:1-9. With respect to the Court’s question, the position of the United States remains the

same as it was expressed in a brief filed on March 7, 2018 in the United States Court of Appeals

for the Second Circuit, which stated:

               Moreover, even the Attorney General’s letter in its entirety should
               not be read to attribute “constitutional” holdings to the Texas courts,
               but rather to invoke the “legal grounds” they adopted in support of
               his own view that DACA was “unconstitutional.” JA. 463. And in
               any event, contrary to the district court’s conclusion, any error in
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               attributing a finding of unconstitutionality to the Texas courts was
               plainly harmless. Although the court found no basis “to conclude
               that the Attorney General would have reached the same conclusion
               had he correctly understood the holdings of the Texas courts,” SA
               37, that inquiry was misdirected because the Attorney General did
               not rescind DACA. Rather, the Acting Secretary did, and it is crystal
               clear from her memorandum that her decision did not depend in any
               way on whether DACA was unconstitutional, rather than “merely”
               contrary to statute and likely to be enjoined regardless.

March 7, 2018 Br. of the United States in Batalla Vidal v. Nielsen, Nos. 18-485, 18-488 (2d Cir.),

at 42-43. Defendants appreciate the opportunity to clarify our position.

       Dated: March 15, 2018                        Respectfully submitted,

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                                                    Deputy Assistant Attorney General

                                                    JENNIFER D. RICKETTS
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                                                    /s/ Kathryn C. Davis
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